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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                CAMDEN VICINAGE


   AARON SIEGEL, JASON COOK,       Hon. Renée Marie Bumb, U.S.D.J.
   JOSEPH DELUCA, NICOLE CUOZZO,   Hon. Ann Marie Donio, U.S.M.J.
   TIMOTHY VARGA, CHRISTOPHER
   STAMOS, KIM HENRY, AND          Docket No. 22-CV-7463
   ASSOCIATION OF NEW JERSEY RIFLE
   AND PISTOL CLUBS, INC.,

        Plaintiffs,

   v.

   MATTHEW J. PLATKIN, in his official
   capacity as Attorney General of the State of
   New Jersey; and PATRICK CALLAHAN,
   in his official capacity as Superintendent of
   the New Jersey State Police,

        Defendants.



   RONALD KOONS; NICHOLAS                          Hon. Reéne Marie Bumb, U.S.D.J.
   GAUDIO; JEFFREY M. MULLER; GIL                  Hon. Ann Marie Donio, U.S.M.J.
   TAL; SECOND AMENDMENT
   FOUNDATION; FIREARMS POLICY                     Docket No. 22-CV-7464
   COALITION, INC.; COALITION OF
   NEW JERSEY FIREARM OWNERS; and
   NEW JERSEY SECOND AMENDMENT
   SOCIETY,
   Plaintiffs,
   v.
   MATTHEW J. PLATKIN, in his official
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   capacity as Attorney General of the State of
   New Jersey; and PATRICK CALLAHAN,
   in his official capacity as Superintendent of
   the New Jersey State Police,
   Defendants.



      ATTORNEY DECLARATION OF ANGELA CAI IN SUPPORT OF
            MOTION TO FILE AN OVERLENGTH BRIEF

  I, ANGELA CAI, of full age, hereby declare as follows:



  1. I am employed as Deputy Solicitor General by the State of New Jersey,

     Department of Law and Public Safety. I submit this declaration in support of

     Defendants’ motion to file an overlength brief.


  2. The above-captioned consolidated matters concern sweeping constitutional

     challenges to a newly enacted firearms statute, P.L. 2022 Chapter 131, and

     provisions of New Jersey law that predate the new legislative enactment.


  3. Consolidation was granted in this case on January 12, 2023.


  4. Previous TRO proceedings in these consolidated cases included:


           • 83 pages of opening briefing by Plaintiffs,

           • 88 pages of opposition briefing by Defendants,
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           • 49 pages of reply briefing by Plaintiffs,

           • Subsequent supplemental briefing in the Siegel case, and

           • 105 pages in TRO opinions issued by the Court.



  5. Siegel Plaintiffs and Defendants requested and received permission to file

     overlength briefs at the TRO stage.


  6. Because Siegel Plaintiffs sought a TRO on only Chapter 131’s place-based

     restrictions, the TRO responsive briefing did not involve additional claims by

     Siegel Plaintiffs, including on liability insurance and permitting challenges.


  7. Defendants initially requested separate PI briefing that bifurcates the claims

     already reviewed in the TRO proceedings and the additional claims. This Court

     indicated a preference for consolidated submissions.


  8. Since those proceedings, Plaintiffs have filed amended pleadings and

     declarations. See D.E. 63 to D.E. 71.


  9. To conduct the historical inquiry under New York State Rifle & Pistol Ass’n, Inc.

     v. Bruen, 142 S. Ct. 2111 (2022), the State must identify and discuss historical

     evidence in its brief, which requires a significant portion of space.
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  10.Defendants respectfully request that the Court grant leave to file a 100 page brief

     in opposition to Plaintiffs’ Motions for Preliminary Injunction.


  11.On February 9, 2023, I requested Plaintiffs’ consent to file this motion. I have

     not received a response.




        I declare that the foregoing statements made by me are true. I am aware that

  if any of the foregoing statements made by me are willfully false, I am subject to

  punishment.



                                     By: /s/ Angela Cai
                                         Angela Cai
                                         Deputy Solicitor General

  Dated: February 10, 2023
